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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

Rudolph Betancourt,                               )
                                                  )
               Plaintiff,                         )     Case No. 2:17-cv-10258
v.                                                )
                                                  )
Mark VI, LLC, a Michigan limited liability        )     Judge: Hon. Sean F. Cox
company,                                          )
                                                  )
                                                  )
                                                  )
               Defendant.                         )



                                         STIPULATION

       Pursuant to a confidential Release and Settlement Agreement entered into between the

parties, the parties stipulate that this case may be dismissed with prejudice and without costs.

The parties further stipulate that the Court may retain jurisdiction over this matter to enforce the

terms of the Release and Settlement Agreement.


                                      Respectfully submitted,


Dated: January 24, 2018                          Dated: January 24, 2018

/s/ Owen B. Dunn, Jr.                                 \s\ Dean F. Pacific

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                                          ORDER
Pursuant to the above Stipulation,

       IT IS ORDERED that this matter is dismissed with prejudice and without costs.

       IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.

Dated: March 7, 2018                              s/Sean F. Cox
                                                  Sean F. Cox
                                                  U. S. District Judge




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